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UNITED STATES DISTRICT COURT                                 SOUTHERN DISTRICT OF T EXAS
                                                                                  United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
Matt Williams,   et   al.,                      §                                       August 15, 2019
                                                §                                      David J. Bradley, Clerk
                 Plaintiffs,                    §
                                                §
versus                                          §                        Civil Action H -19-rr9
                                                §
PennyMac Loan Services, LLC,    et   al.,       §
                                                §
                 Defendants.                    §


                                       Order on Sanctions

           Rhonda Shedrick Ross has failed to appear, disobeyed the court's orders,
    presented fraudulent parties' insane conceptions oflegal claims, and made inconsistent
    statements throughout this case and others. Her pleadings and appearances varied in
    everything except their being grossly false.
           A qualified, rational person could not have presented the appearances and
    positions that Ross has done in good faith. This is unacceptable.
            PennyMac Loan Services, LLC, recovers a sanction in the form of an equitable
    cost adjustment of $I 5,367.75 against Rhonda Shedrick Ross, and the Khans recover
    an equitable cost adjustment of $27,406.84 from Rhonda Shedrick Ross. (25)
            All court costs an: assessed against Ross.


            Signed on August         LS , 2019, at Houston, Texas.



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                                                              Lynn N. Hughes
                                                         United States DistrictJudge
